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                                 CERTIFICATE OF SERVICE

        I, L. John Bird, hereby certify that on the 10th day of October, 2014, I caused copies of

the foregoing Objection of the Ad Hoc Group of TCEH Unsecured Noteholders to the

Motion of Energy Future Holdings Corp., et al., for Entry of an Order (A) Approving

Bidding Procedures, (B) Scheduling an Auction and Related Deadlines and Hearings, and

(C) Approving the Form and Manner of Notice Thereof to be served upon the parties below

as indicated:


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